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                                                                                 1   Victoria L. Nelson, Esq. (NV Bar No. 5436)              Electronically Filed On: January 30, 2017
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                                                                                     3900 Paradise Road, Suite U
                                                                                 4   Las Vegas, Nevada 89169-0903
                                                                                     Telephone:     702/720-3370
                                                                                 5   Facsimile:     702/720-3371

                                                                                 6   [Proposed] Counsel for Shelley D. Krohn, Chapter 7 Trustee

                                                                                 7
                                                                                 8                                  UNITED STATES BANKRUPTCY COURT

                                                                                 9                                           DISTRICT OF NEVADA

                                                                                10       In re:                                         Case No. BK-S-16-16602-BTB
                                                                                                                                        Chapter 7
                         3900 Paradise Road, Suite U, Las Vegas, Nevada 89169
                          Telephone: (702) 720-3370 Facsimile: (702) 720-3371




                                                                                11       BRANDON MICHAEL D'HAENENS,
                                                                                                                                        EX PARTE APPLICATION FOR
NELSON & HOUMAND, P.C.




                                                                                12                        Debtor.                       EXAMINATION OF SEVERN P.
                                                                                                                                        BIZZARO PURSUANT TO FEDERAL
                                                                                13
                                                                                                                                        RULE OF BANKRUPTCY PROCEDURE
                                                                                14                                                      2004

                                                                                15                                                      Date of Hearing:       N/A
                                                                                                                                        Time of Hearing:       N/A
                                                                                16
                                                                                17                                                      Judge: Honorable Bruce T. Beesley1

                                                                                18                Pursuant to Federal Rules of Bankruptcy Procedure 2004(c) and 9016, which incorporate

                                                                                19   by reference Rule 45 of the Federal Rules of Civil Procedure and Rule 5075(a)(2)(L) of the Local

                                                                                20   Rules of Practice for the United States Bankruptcy Court for the District of Nevada, SHELLEY

                                                                                21   D. KROHN, the Chapter 7 Trustee in the above-captioned bankruptcy proceeding (“Trustee”), by

                                                                                22   and through her proposed counsel of record, Victoria L. Nelson, Esq. and Jacob L. Houmand,

                                                                                23   Esq. of the law firm of Nelson & Houmand, P.C., applies for an order directing Severn P. Bizzaro

                                                                                24   (“Bizzaro”) to appear for examination regarding any and all transactions concerning the acts,

                                                                                25
                                                                                     1
                                                                                26    Unless otherwise indicated, all chapter and section references are to the Bankruptcy Code, 11
                                                                                     U.S.C. §§ 101-1532, and to the Federal Rules of Bankruptcy Procedure, Rules 1001-9037. The
                                                                                27   Federal Rules of Civil Procedure will be referred to as “FRCP” and the Federal Rules of
                                                                                     Bankruptcy Procedure will be referred to as “FRBP.” The Local Rules of Practice for the United
                                                                                28
                                                                                     States Bankruptcy Court for the District of Nevada shall be referred to as the “Local Rules”.
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                                                                                 1   conduct, or property or to the liabilities and financial condition of BRANDON MICHAEL

                                                                                 2   D'HAENENS (the “Debtor”), any other matter which may affect the Debtor’s estate, including,

                                                                                 3   but not limited to, any and all pre-petition transfers of the real property located at 609 Los Feliz

                                                                                 4   Street, Las Vegas, Nevada 89110 [APN 140-35-110-067], and as to any matter permitted by

                                                                                 5   Federal Rule of Bankruptcy Procedure 2004. A copy of the Proposed Order is attached hereto

                                                                                 6   and marked as Exhibit “1”.

                                                                                 7          WHEREFORE, the Trustee respectfully requests that this Honorable Court direct

                                                                                 8   Bizzaro to appear for said examination on the 15th day of February, 2017, at 9:00 a.m. at the law

                                                                                 9   offices of Nelson & Houmand, P.C., 3900 Paradise Road, Suite U, Las Vegas 89169-0903.

                                                                                10          Dated this 30th day of January, 2017.
                         3900 Paradise Road, Suite U, Las Vegas, Nevada 89169
                          Telephone: (702) 720-3370 Facsimile: (702) 720-3371




                                                                                11                                                    NELSON & HOUMAND, P.C.
NELSON & HOUMAND, P.C.




                                                                                12
                                                                                                                                      By: /s/ Jacob L. Houmand
                                                                                13                                                    Victoria L. Nelson, Esq. (NV Bar No. 5436)
                                                                                                                                      Jacob L. Houmand, Esq. (NV Bar No. 12781)
                                                                                14                                                    3900 Paradise Road, Suite U
                                                                                                                                      Las Vegas, Nevada 89169-0903
                                                                                15
                                                                                                                                      Telephone: 702/720-3370
                                                                                16                                                    Facsimile: 702/720-3371

                                                                                17                                                    [Proposed] Counsel for Shelley D. Krohn,
                                                                                                                                      Chapter 7 Trustee
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                                                                                 1                                  CERTIFICATE OF SERVICE

                                                                                 2          I hereby certify that on the 30th day of January, 2017, I caused to be served a true and

                                                                                 3   correct copy of EX PARTE APPLICATION FOR EXAMINATION OF SEVERN P. BIZZARO

                                                                                 4   PURSUANT TO FEDERAL RULE OF BANKRUPTCY PROCEDURE 2004 in the following

                                                                                 5   manner:

                                                                                 6          (ECF System) By electronically filing a copy of the above-referenced document with the

                                                                                 7   Clerk of the Court for the United States Bankruptcy Court for the District of Nevada via the ECF

                                                                                 8   System. The ECF Confirmation Sheet provides that the following parties were served with the

                                                                                 9   above-referenced document:

                                                                                10   SHELLEY D KROHN
                                                                                     shelley@trusteekrohn.com, NV27@ecfcbis.com;becca@trusteekrohn.com;jan@trusteekrohn.com
                         3900 Paradise Road, Suite U, Las Vegas, Nevada 89169
                          Telephone: (702) 720-3370 Facsimile: (702) 720-3371




                                                                                11
                                                                                     MICHAEL F LYNCH on behalf of Creditor ADAM POLAN
NELSON & HOUMAND, P.C.




                                                                                12   Michael@LynchLawPractice.com,
                                                                                     lynchonline@gmail.com;admin@lynchlawpractice.com;christina@lynchlawpractice.com
                                                                                13
                                                                                14   KYLE JOSEPH ORTIZ on behalf of Trustee SHELLEY D KROHN
                                                                                     kortiz@nelsonhoumand.com,
                                                                                15   jhoumand@nelsonhoumand.com;vnelson@nelsonhoumand.com;cgauss@nelsonhoumand.com
                                                                                16   U.S. TRUSTEE - LV - 7
                                                                                17   USTPRegion17.LV.ECF@usdoj.gov

                                                                                18   WHITNEY B. WARNICK on behalf of Creditor GEORGE E. DOTY
                                                                                     wbw@albrightstoddard.com, cgrey@albrightstoddard.com;bclark@albrightstoddard.com
                                                                                19
                                                                                     WHITNEY B. WARNICK on behalf of Creditor SEVERN P. BIZZARO
                                                                                20   wbw@albrightstoddard.com, cgrey@albrightstoddard.com;bclark@albrightstoddard.com
                                                                                21
                                                                                     WHITNEY B. WARNICK on behalf of Interested Party STEVEN P. SIMMONS
                                                                                22   wbw@albrightstoddard.com, cgrey@albrightstoddard.com;bclark@albrightstoddard.com

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                                                                                 1   DAVID J. WINTERTON on behalf of Debtor BRANDON MICHAEL D'HAENENS
                                                                                     david@davidwinterton.com,
                                                                                 2   christy@davidwinterton.com;tennille@davidwinterton.com;Julie@davidwinterton.com
                                                                                 3
                                                                                 4          I declare under penalty of perjury of the laws of the United States that the foregoing is true

                                                                                 5   and correct.

                                                                                 6          Dated this 30th day of January, 2017.

                                                                                 7                                                    NELSON & HOUMAND, P.C.

                                                                                 8
                                                                                                                                      By: /s/ Jacob L. Houmand
                                                                                 9                                                    Victoria L. Nelson, Esq. (NV Bar No. 5436)
                                                                                                                                      Jacob L. Houmand, Esq. (NV Bar No. 12781)
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NELSON & HOUMAND, P.C.




                                                                                12                                                    Facsimile: 702/720-3371

                                                                                13                                                    [Proposed] Counsel for Shelley D. Krohn,
                                                                                                                                      Chapter 7 Trustee
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